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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION


RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIRS LLC,

                         Plaintiffs,
                                            Civil Case No. 5:19-cv-55-TKW-MJF
      v.

INTUITIVE SURGICAL, INC.,

                         Defendant.

  PLAINTIFFS’ MOTION TO DISMISS COUNT 6 OF DEFENDANT’S
 AMENDED COUNTERCLAIMS WITH SUPPORTING MEMORANDUM

Jeffrey L. Berhold                     William G. Harrison
JEFFREY L. BERHOLD, P.C.               HARRISON RIVARD DUNCAN & BUZZETT
1230 Peachtree Street, Suite 1050      101 Harrison Avenue
Atlanta, Georgia 30309                 Panama City, FL 32401

                                       COUNSEL FOR PLAINTIFFS

                                       December 12, 2019
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         Pursuant to Fed. R. Civ. Proc. 12(b)(6), Plaintiffs Restore Robotics LLC and

Restore Robotics Repairs LLC (collectively “Restore”) hereby move to dismiss

Count 6 of Defendant’s First Amended Counterclaims alleging a violation of the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (“CFAA”) with prejudice.

Defendant originally made the claim in its Answer and Counterclaims. In its order

dismissing that count in the original counterclaims, Court ordered that “Defendant

may file amended counterclaims curing the pleading deficiencies discussed in this

Order if it can do so in good faith.” [44] at 18. In its Amended Counterclaims,

Defendant has failed to cure the pleading deficiencies in the CFAA claim in good

faith.

         The Court dismissed the claim because Defendant did not allege that Restore

“engaged in conduct . . . that, it would be plausible to say, actually impaired the

integrity of the computer systems in Defendant’s robots.” [44] at 16. Therefore,

Defendant failed to state a plausible claim for relief because it did not allege that

“suffered damage or loss by reason of Plaintiffs’ alleged attempts to violate the

CFAA Section 1030.” [44] at 17. Defendant still does not allege that Restore

“engaged in conduct . . . that, it would be plausible to say, actually impaired the

integrity of the computer systems in Defendant’s robots.” In fact, the allegations

regarding the alleged misconduct are identical to the word. Compare [32] ¶ 44 with

[49] ¶ 55.

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       Furthermore, Defendant has clearly not suffered any “damages or loss” to

bring a claim under Section 1030(g). There has been no “impairment to the integrity

or availability of data, a program, a system, or information.” 18 U.S.C. § 1030(e)(8).

The Court has ruled on that point. [44] at 16. Instead, Defendant has added an

allegation that it incurred a “loss” under Section 1030(e)(11) from “expenditures on

legal services exceeding $5,000” in “response to the attempted hack.” [49] ¶ 59.

Since Defendant does not allege that Restore actually tried to gain access to the

computer system on any robot, Defendant presumably incurred those expenses in

having its lawyers research and plead its claim, not once but twice, and defend it on

the original motion to dismiss. Defendant pleads no facts to the contrary. Under its

reading of Section 1030(e)(11), any person could bring a civil claim under Section

1030(g) based on its legal expenses in researching and preparing the claim regardless

of any intrusion – or any actual damages or loss to the claimant from an intrusion.

That cannot be the case. It would be an end run around the requirements of the

statute.

       In addition, Restore renews its other arguments from the motion to dismiss

the original counterclaims. For instance, Count 6 still fails to plausibly allege how

Restore would seek or obtain access to robots without authorization of the owner or




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exceed the authorization of the owner.1 In fact, Restore would not have physical

access to robots without the consent of the owners. Moreover, the owner would not

provide access unless Restore was performing service on the robot. Furthermore,

there is no factual allegation that the Intuitive sales or lease agreements prohibit third

parties from accessing the robot with the consent of the owner or that Restore was

aware of such prohibitions at the time of the alleged telephone conversation on July

26, 2019. See EarthCam, Inc. v. OxBlue Corp., 49 F. Supp. 3d 1210, 1231-32 (N.D.

Ga. 2014), aff'd, 703 F. App'x 803 (11th Cir. 2017).

      Nor does the counterclaim plausibly explain how Restore intended to defraud

the customer by removing the preventative maintenance message after Restore

serviced the robot at the customer’s request. In fact, there is no explanation of how

Restore intended to deceive customers. The customers would presumably want to

eliminate the preventative maintenance message after obtaining service from

Restore. Therefore, the counterclaim fails both for the absence of facts regarding




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  The counterclaim does not cite a specific provision of 18 U.S.C. § 1030(a) or (b).
Based on the wording of the counterclaim, Intuitive apparently alleges that Restore
attempted to violate 18 U.S.C. § 1030(a)(4). [49] ¶¶ 84-86. Section 1030(a)(4) sets
out liability for anyone who “knowingly and with intent to defraud, accesses a
protected computer without authorization, or exceeds authorized access, and by
means of such conduct furthers the intended fraud and obtains anything of value,
unless the object of the fraud and the thing obtained consists only of the use of the
computer and the value of such use is not more than $5,000 in any 1-year period.”
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unauthorized access by Restore and the absence of facts regarding an intent to

defraud the customer.

                                  Conclusion

      For all the foregoing reasons, Count 6 of the Amended Counterclaims should

be dismissed with prejudice.




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      Respectfully submitted on December 12, 2019.

                                        /s Jeff Berhold
                                        Jeffrey L. Berhold*
                                        Georgia Bar No. 054682
                                        JEFFREY L. BERHOLD, P.C.
                                        1230 Peachtree Street, Suite 1050
                                        Atlanta, GA 30309
                                        (404) 872-3800 (telephone)
                                        jeff@berhold.com

                                        /s William G. Harrison, Jr.
                                        William G. Harrison
                                        HARRISON RIVARD DUNCAN & BUZZETT
                                        FL. Bar No. 0765058
                                        101 Harrison Avenue
                                        Panama City, FL 32401
                                        850-769-1414 (telephone)
                                        wharrison@harrisonrivard.com

                                        COUNSEL FOR PLAINTIFFS

                                        *Admitted Pro Hac Vice

Pursuant to Local Rule 5.1(F)(1)(a), a certificate of service is not required.

Pursuant to Local Rule 7.1(F), the memorandum contains 785 words.




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